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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            OCALA DIVISION

MARK EKWEM                                                                 Case No.: 5:08-cv-350
      PLAINTIFF,

v.

CREATIVE CONCEPTS LEARNING
FACILITY, INC. and KARENA MABRY,
        DEFENDANT(s).
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                            JOINT MOTION FOR APPROVAL OF SETTLEMENT
                             AND INCORPORATED MEMORANDUM OF LAW

      Plaintiff, Mark Ekwem ("Plaintiff'), and Defendants Creative Concepts Learning Facility, Inc, and

Karena Mabry (collectively "the parties"), jointly request that this Court approve the terms of the

Parties' settlement of the above captioned matter and dismiss this case with prejudice and in support

thereof state:

                                             I. Legal Principles

         Pursuant to the case law regarding settlement of Fair Labor Standards Act ("FLSA") claims, there

are two (2) ways in which claims under the FLSA can be settled and released by employees. First, section

216(c) of the FLSA allows employees to settle and waive their claims under the FLSA if the payment of

unpaid wages by the employer to the employee is supervised by the Secretary of Labor. See 29 U.S.c.

216(c); Lynn's Food Stores, Inc. v. United States, 679 F.2d1350, 1353 (11th Cir. 1982). Second, in the

context of a private lawsuit brought by an employee against an employer under section 216(b) of the

FLSA, an employee may settle and release FLSA claims against an employer if the parties present the

district court with a proposed settlement and the district court enters a stipulated judgment approving

the fairness of the settlement. Id.; see also Scu(te, Inc. v. Gandi, 328 U.S. 108, 66 S.Ct. 925, 928 n. 8, 90

L.Ed. 1114 (1946); Jarrad v. Southeastern Shipbuifding Corp., 163 F.2d 960, 961 (5th Cir. 1947). In




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detailing the circumstances justifying court approval of an FLSA settlement in a litigation context, the

Eleventh Circuit has stated as follows:

        Settlements may be permissible in the context of a suit brought by employees under the
        FLSA for back wages because initiation of the action by the employees provides some
        assurance of an adversarial context. The employees are likely to be represented by an
        attorney who can protect their rights under the statute. Thus, when the parties submit a
        settlement to the court for approval, the settlement is more likely to reflect a
        reasonable compromise of disputed issues than a mere waiver of statutory rights
        brought by an employer's overreaching. If a settlement in an employee FLSA suit does
        reflect a reasonable compromise over issues, such as FLSA coverage or computation of
        back wages that are actually in dispute, we allow the district court to approve the
        settlement in order to promote the policy of encouraging settlement of litigation.

        Lynn's Food Stores, 679 F.2d at 1354.

    The settlement of the instant action involves a situation in which the Court may approve the Parties'

settlement to resolve and release the Plaintiff's FLSA claims against Defendants. The proposed

settlement arises out of an action brought by Plaintiff against her former employer, which was

adversarial in nature.

    Plaintiff, who worked for Defendants as a nurse's aide , filed suit against Defendants seeking

recovery of regular and overtime wages. If Plaintiff is correct in his allegations that Defendants owed

him these monies, he would be entitled to $2,000.00 in wages, and an equal amount in liquidated

damages. Plaintiff based these damage figures on his recollection of the hours worked, paystubs, and

available time cards. Defendants deny that Plaintiff is owed any wages and allege that Plaintiff was

exempt from overtime, and deny that they are even subject to the terms of the FLSA.

    The Parties agree that the instant action involves disputed issues. The Parties further agree that the

settlement negotiated and reached by the Parties reflects a fair resolution of the disputed issues. The

Parties conducted discovery and were preparing for trial when the agreement was reached. The Parties

voluntarily agreed to the terms of their settlement at the conclusion of the negotiations and each party

agrees this settlement is a fair and reasonable compromise of an FLSA claim.




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                                            II. Terms of Settlement

         A. Plaintiff's Recovery

         Plaintiff, Mark Ekwem, has agreed to accept a total of $4,000.00 as payment for his FLSA claims.

Plaintiff and his counsel discussed the legal and factual issues he faced and discussed his likelihood of

succeeding at trial. After analyzing these issues and exchanging several offers to settle, Plaintiff

ultimately accepted $4,000.00 as payment for her FLSA claims.

         Defendants, even with their defenses to this action, agreed to pay this amount to avoid the

expense and uncertainty of trial. The defense contested the plaintiff's damage figure and argued they

could impeach many of plaintiff's overtime claims. After discussions with defendants, the defendants

decided they would rather settle than go to trial.

    B. Attorney's Fees/Costs.

    Plaintiff's counsel will receive $4,000.00 in attorney's fees and in costs, including filing fees and

private process server fees. The Parties have agreed this is a reasonable fee under the circumstances of

this case, and was negotiated separately from Plaintiff's recovery and without regard to the amount of

Plaintiffs recovery. See Bonetti v. Embarq Management Company, 715 F.Supp.2d 1222, 1228 (M.D. Fla.

2009).

                                                III. Conclusion

    The Parties jointly and respectfully request that this Court approve the settlement between the

Parties, and dismiss the instant action with prejudice.

Dated this 2nd day of April, 2012.

/s/ Eric D. Frommer
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